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                                     DISTRICT JUDGE'S MINUTES
                         IN THE UNITED STATES DISTRICT COURT
                             DISTRICT OF ARIZONA – PHOENIX
U.S. District Judge: Douglas L. Rayes             Date: March 1, 2023
USA v. David Allen Harbour                        Case Number: CR-19-00898-001-PHX-DLR

Assistant U.S. Attorney: Kevin Rapp and Coleen Schoch
Attorney for Defendant: Stephen Dichter and Justin Vanderveer, Retained

Defendant: ☒ Present ☐ Not Present             ☒ Released      ☐ Custody ☐ Summons ☐ Writ

JURY TRIAL (Day 15):

9:00 a.m. Jury commences deliberations.

5:00 p.m. Jury is excused until 9:00 a.m. on March 2, 2023, and will resume deliberations at that time.


Court Reporter: Jennifer Pancratz
Deputy Clerk: Robert Vasquez                                                      Start: 9:00 AM
                                                                                  Stop: 5:00 PM
